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                      1     GARMAN TURNER GORDON LLP
                            WILLIAM M. NOALL
                      2     Nevada Bar No. 3549
                            E-mail: wnoall@gtg.legal
                      3
                            GABRIELLE A. HAMM
                      4     Nevada Bar No. 11588
                            E-mail: ghamm@gtg.legal
                      5     MARK M. WEISENMILLER
                            Nevada Bar No. 12128
                      6     E-mail: mweisenmiller@gtg.legal
                            650 White Drive, Suite 100
                      7
                            Las Vegas, Nevada 89119
                      8     Telephone (725) 777-3000
                            Facsimile (725) 777-3112
                      9     [Proposed] Attorneys for Debtor
                    10                                   UNITED STATES BANKRUPTCY COURT
                                                            FOR THE DISTRICT OF NEVADA
                    11

                    12      In re:                                                        Case No.: BK-S-18-14683-leb
                                                                                          Chapter 11
                    13      GUMP’S HOLDINGS, LLC,
                                              Debtor.                                     Joint administration requested
                    14

                    15                                                                    Hearing Date: OST REQUESTED
                                                                                          Hearing Time: OST REQUESTED
                    16
                                        DEBTORS’ MOTION FOR ORDER AUTHORIZING MAINTENANCE
                    17                      OF PREPETITION CASH MANAGEMENT SYSTEM AND
                    18                      BANK ACCOUNTS; AND GRANTING RELATED RELIEF

                    19               Gump’s Holdings, LLC, Gump’s Corp., and Gump’s By Mail, Inc. (“collectively,

                    20      “Debtors”),1 debtors and debtors-in-possession, hereby respectfully submit this motion (the

                    21      “Motion”) for an order, pursuant to Sections2 105, 363(c)(1), 1107(a), and 1108, and Local Rule

                    22      4001(e), authorizing Debtors to maintain their prepetition Cash Management System and Bank

                    23      Accounts (as those terms are hereinafter defined). Substantially similar motions have been filed

                    24      in each Debtors’ Chapter 11 Cases.

                    25      1
                             Contemporaneously herewith, each Debtor has filed an application for an order jointly-administering the Chapter
                    26      11 cases, with Gump’s Holdings, LLC as the lead case.
                            2
                              Unless otherwise stated, all references to “Sections” herein shall be to the Bankruptcy Code appearing in Title 11
                    27      of the U.S. Code; all references to a “Bankruptcy Rule” shall refer to the Federal Rules of Bankruptcy Procedure;
                            and all references to a “Local Rule” shall refer to the Local Rules of Bankruptcy Practice of the U.S. District Court
                    28      for the District of Nevada.
Garman Turner Gordon
 650 White Dr., Suite 100
Las Vegas, Nevada 89119
     (725) 777-3000

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                      1              This Motion is made and based upon the following Memorandum of Points and

                      2     Authorities, the omnibus declaration of Tony Lopez in support of Chapter 11 petitions, first day

                      3     motions, and other relief (the “First Day Declaration”), the declaration of Tony Lopez filed

                      4     herewith (the “Lopez Declaration”), the papers and pleadings on file herein, judicial notice of

                      5     which is hereby respectfully requested, and the argument of counsel entertained by the Court at

                      6     the time of the hearing of the Motion.

                      7              This Motion is also made and based upon the agreement dated as of August 5, 2018

                      8     (together with all exhibits thereto, the “Agency Agreement”)3, by and among a contractual joint

                      9     venture composed of Hilco Merchant Resources, LLC and Gordon Brothers Retail Partners, LLC

                    10      (together, the “Agent”), Debtors, and Debtors’ senior lender, Sterling Business Credit, LLC

                    11      (“Sterling”). The Agency Agreement is the subject of Debtors’ Motion for Order (A) Approving

                    12      Agency Agreement, (B) Authorizing and Approving Store Closing Sale Free and Clear of All

                    13      Liens, Claims, and Encumbrances, (C) Granting Liens, and (D) Granting Related Relief (the

                    14      “Agency Agreement Motion”).

                    15               This Motion is also made and based upon Sterling’s agreement to provide certain debtor-

                    16      in-possession financing in accordance with and under the conditions provided in the Emergency

                    17      Motion for Interim and Final Orders (A) Authorizing the Debtors to Obtain Limited Post-

                    18      Petition Financing, (B) Granting Liens and Providing Administrative Expense Status, (C)

                    19      Authorizing the Debtors’ Limited Use of Cash Collateral, (D) Granting Adequate Protection, (E)

                    20      Modifying the Automatic Stay, and (F) Granting Related Relief (the “DIP Motion”) and related

                    21      budget (the “Budget”), as approved by order of the Court (such order, the “DIP Order,” and such

                    22      financing, the “DIP Financing”).

                    23                                                       I.
                                                                      PERTINENT FACTS
                    24
                                A.    Background of the Debtors.
                    25
                                     1.       On August 3, 2018 (the “Petition Date”), each of the Debtors commenced a
                    26
                    27
                            3
                             All capitalized undefined terms used herein shall be ascribed the definitions in the First Day Declaration and
                    28      Agency Agreement Motion as applicable.
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 650 White Dr., Suite 100
Las Vegas, Nevada 89119
     (725) 777-3000                                                               2
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                      1     voluntary case under Chapter 11 of the Bankruptcy Code, commencing the chapter 11 cases (the

                      2     “Chapter 11 Cases”). Contemporaneously with the filing of the voluntary petitions, Debtors

                      3     filed an application for an order to jointly administer the Chapter 11 Cases, with Holdings

                      4     denominated as the lead case.

                      5              2.       Established in 1861 by the Gump family as a frame and mirror shop, Gump’s

                      6     expanded its offerings in the late 19th century to sell moldings, gilded cornices, and European art

                      7     to those made wealthy by the California Gold Rush. After rebuilding following the 1906

                      8     earthquake, Gump’s began selling fine rugs, porcelain, silks, bronzes, and jade imported from the

                      9     Far East, ultimately becoming a distinctive luxury home furnishings and décor retailer known for

                    10      its fine art, jewelry, antiques, and personalized service. Because Gump’s specializes in unique,

                    11      one-of-a-kind items, it does not have any real direct competitors. See First Day Decl., 7.

                    12               3.       Retail operates the flagship Gump’s department store at 135 Post Street near

                    13      Union Square in San Francisco, California (the “Store”), which also houses the Debtors’

                    14      corporate offices. See id., ¶ 8.

                    15               4.       With certain exceptions, “direct to consumer” sales, consisting of catalog and e-

                    16      commerce sales, are fulfilled from the company’s distribution center located at 10400 Marina

                    17      Drive, Olive Branch, Mississippi, which is operated by Direct. Direct also feeds inventory to the

                    18      Store in San Francisco. See id., ¶ 11.

                    19               5.       Sterling Senior Revolving Credit Facility.Retail and Direct, as borrowers (the

                    20      “Borrowers”), Holdings, as Guarantor, and Sterling Business Credit, LLC (“Sterling”)4 are

                    21      parties to that certain Loan and Security Agreement, dated as of December 29, 2015, for a

                    22      revolving credit facility of up to $15,000,000 (as amended, the “Prepetition Loan Agreement”

                    23      and together with accompanying ancillary documents, the “Prepetition Loan Documents”). First

                    24      Day Decl., ¶¶ 13-19; Exs. 1 – 8.

                    25               6.       As is customary in asset-based lending, borrowings under the Prepetition Loan

                    26      Agreement are determined by amounts available pursuant to a borrowing base calculation, which

                    27
                            4
                             While the original lender party to the Loan and Security Agreement was named NewStar Business Credit, LLC,
                    28      but entity changed its name to Sterling Business Credit, LLC on or before March 2016.
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                      1     is based on percentages of eligible inventory and receivables, in each case subject to reductions

                      2     for applicable reserves.5 Under the terms of the Prepetition Loan Agreement, the Borrowers are

                      3     jointly and severally liable for all of the obligations incurred under the Prepetition Loan

                      4     Agreement, which are also guaranteed by Holdings. Id. at ¶ 14.

                      5              7.       Pursuant to the Prepetition Loan Agreement and the Patent, Copyright and

                      6     Trademark Security Agreement dated December 29, 2015, as security for the Borrowers’

                      7     payment and performance of the Prepetition Loan Obligations (defined below), Sterling holds a

                      8     security interest and lien on substantially all of the current and future assets of the Borrowers,

                      9     including, but not limited to, inventory, accounts receivable, general intangibles, equipment,

                    10      trademarks, trade names, business names, service marks, logos, and certain related intellectual

                    11      property (the “Trademark Collateral”), copyrights, copyright licenses, domain names, and
                    12      proceeds from any of the foregoing, subject to certain exceptions and permitted liens

                    13      (collectively, the “Borrower Collateral”). Id. at ¶¶ 16-17; Exs. 1, 5.

                    14          B.    Debtors’ Cash Management System, Bank Accounts, and Accounting Programs.

                    15               8.       Debtors have one centralized cash management system (the “Cash Management

                    16      System”) to collect and transfer funds generated by their operations and sweep the funds to

                    17      Sterling. Sterling then advances funds to the Debtors’ operating account under the Credit

                    18      Facility. The Debtors then use these advances to operate their business. As is typical with most

                    19      large corporate enterprises, in the ordinary course of their business, Debtors utilize the Cash

                    20      Management System to efficiently collect, transfer, and disburse funds generated through

                    21      Debtors’ operations. See Lopez Decl., ¶ 74.

                    22               9.       Debtors have five (5) bank accounts, all of which are with Union Bank (the “Bank

                    23      Accounts”). Union Bank is an “authorized depositor”. One of the Union Bank Accounts is an

                    24      operating account, ending in 628 (the “Operating Account”). Prepetition, the Operating Account

                    25      was used to make payments in connection with Debtors’ point of sales system to cover company

                    26
                            5
                              The borrowing base is based upon 1) eligible accounts receivable with advances of up to 85% of the net amount of
                    27      eligible credit card and house account receivables not more than 90 days from invoice date or 60 days from the due
                            date, and ii) up to the lesser of 85% of the net orderly liquidation value of inventory value based upon an acceptable
                    28      appraisal or up to 80% of eligible inventory based upon the lower of cost or market value.
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 650 White Dr., Suite 100
Las Vegas, Nevada 89119
     (725) 777-3000                                                                   4
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                      1     checks and wire transfers. Postpetition, the Operating Account will be Debtors’ primary demand

                      2     deposit account for making payments due from the Debtors in possession under their Budget.

                      3     Prepetition, the Operating Account received only advances from the Credit Facility.

                      4     Postpetition, debtor-in-possession financing payments from Sterling, together with all payments

                      5     made to Debtors, including those identified in paragraph 11 below, shall be deposited in the

                      6     Operating Account. See id., ¶ 75.

                      7              10.      The second Bank Account is a blocked collection account, ending in 602 (the

                      8     “Collection Account”). Prepetition, all accounts receivable, including Credit Card Receivables

                      9     (defined below), were deposited in the Collection Account. Prepetition, pursuant to the Credit

                    10      Facility, Sterling caused a daily sweep of funds from the Collection Account and applied the

                    11      swept funds to the loan balance under the Credit Facility (the “Prepetition Daily Sweep”). Such

                    12      sweep will continue until the Agency Agreement has been approved by the Court and the

                    13      Closing Sale (as defined in the Agency Agreement) commences. At such point, under the

                    14      Agency Agreement, the Agent may sweep the funds from the Collection Account daily and may

                    15      sweep the Credit Card Receivables daily, or may have such funds and Credit Card Receivables

                    16      directly deposited into a separate Agency Account, in accordance with the Agency Agreement.

                    17      See id., ¶ 76.

                    18               11.      Once the Agency Agreement is approved by the Court, the following additional

                    19      types of payments shall also be deposited directly into the Operating Account:

                    20                     (i) Debtors’ share of the Initial Guaranty Payment;

                    21                     (ii) Debtors’ share of the remaining Guaranteed Amount after payment of
                                           Sterling’s secured claim, except as otherwise agreed between Debtors and
                    22                     Sterling in writing;
                    23
                                           (iii) Debtors’ Sharing Amounts under the Agency Agreement after payment of
                    24                     Sterling’s secured claim, except as otherwise agreed between Debtors and
                                           Sterling in writing;
                    25
                                           (iv) Debtors’ share of proceeds from sales of the Merchant’s Consignment
                    26                     Goods under the Agency Agreement;
                    27                     (v) Debtors’ share of proceeds from the sale of Owned FF&E, after payment
                                           of Sterling’s secured claim, except as otherwise agreed between Debtors and
                    28
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 650 White Dr., Suite 100
Las Vegas, Nevada 89119
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                      1                    Sterling in writing;

                      2                    (vi) the Additional Agent’s Goods Fee;
                      3                    (vii) all of Agent’s payments to Debtors under the Agency Agreement for
                                           Expenses paid by Debtors in accordance with the Budget; and
                      4

                      5                    (viii) any payments received by Debtors from Corporate Partners II, Ltd. as
                                           approved by separate order of the Bankruptcy Court.
                      6
                            The payments from the Operating Account shall be in accordance with the Budget, subject to
                      7
                            such variances as approved by Sterling in accordance with the DIP Order or other order of the
                      8
                            Court. Furthermore, the Operating Account shall receive daily transfers from the Payroll
                      9
                            Account, the Accounts Payable Account, and the Customer Refunds Account (all defined
                    10
                            below). See Lopez Decl., ¶ 77.
                    11
                                     12.      The third Union Bank Account is a payroll account, ending in 636 (the “Payroll
                    12
                            Account”). Debtors transfer funds from the Operating Account to the Payroll Account to pay
                    13
                            Debtors’ employees.         The Payroll Account is a “zero balance” account that automatically
                    14
                            transfers all remaining funds to the Operating Account at the end of the day. See id. at ¶ 78.
                    15
                                     13.      The fourth Union Bank Account is an accounts payable account, ending in 249
                    16
                            (the “A/P Account”). Debtors transfer funds from the Operating Account to A/P Account to pay
                    17
                            Debtors’ accounts payable. The A/P Account is also “zero balance” account that automatically
                    18
                            transfers all remaining funds to the Operating Account at the end of the day. See id. at ¶ 79.
                    19
                                     14.      The fifth Union Bank Account is a customer refund account, ending in 256 (the
                    20
                            “C/R Account”). Debtors transfer funds from the Operating Account to C/R Account to pay
                    21
                            customer refunds. Like the Payroll and A/P Accounts, the C/R Account is a “zero balance”
                    22
                            account that automatically transfers all remaining funds to the Operating Account at the end of
                    23
                            the day. It is not anticipated that the C/R Account will be used on a postpetition basis as the
                    24
                            Agent will be handling refunds once the Agency Agreement is approved by the Court and
                    25
                            Debtors will be reimbursing the Agent for these refunds postpetition from the Operating Account
                    26
                            in accordance with the Agency Agreement. See id. at ¶ 80.
                    27
                                     15.      The Bank Accounts tie into and provide data to Debtors’ Accounting Systems
                    28
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 650 White Dr., Suite 100
Las Vegas, Nevada 89119
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                      1     (defined hereinafter) to accurately record such collections, transfers, and disbursements as they

                      2     are made. See id. at ¶ 81.

                      3              16.      Specifically, Debtors utilize three (3) financial accounting software programs

                      4     (together, the “Accounting Systems”). Debtors use Celerant, which is Debtors’ point of sales

                      5     software for the store in San Francisco, California. Debtors also use Ecometry, which is a

                      6     centralized Enterprise Resource Planning (like point of sale, but for e-commerce) that receives

                      7     all transactional from the direct mail and web businesses. Finally, Debtors use Multiview as

                      8     their financial management software, which is essentially a general ledger and compiles all

                      9     Debtors’ financial data from Celerant and Ecometry. See id. at ¶ 82.

                    10               17.      Additionally, Debtors have agreements with two (2) credit card processing

                    11      companies – Litle & Co. and Vantiv/Paymentech (together, the “Credit Card Processors”). The

                    12      Credit Card Processors deposit all credit card receivables (the “Credit Card Receivables”) to the

                    13      Collections Account. See id. at ¶ 83.

                    14               18.      Postpetition, Debtors will open an additional account at Union Bank designated as

                    15      the “Sales Tax Account” (the “Sales Tax Account”) into which the Agent shall deposit all sales

                    16      taxes collected by Agent in connection with sales under the Agency Agreement and from which

                    17      account such sales tax shall be remitted to the appropriate governmental unit or taxing authority.

                    18      At Debtors’ option, Debtors may redesignate the C/R Account as the Sales Tax Account to be

                    19      used in accordance with this paragraph. See id. at ¶ 84.

                    20                                                  II.
                                                              JURISDICTION AND VENUE
                    21
                                     19.      This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and
                    22
                            1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue in
                    23
                            this judicial district is proper pursuant to 28 U.S.C. §§ 1408 and 1409. Pursuant to Local Rule
                    24
                            9014.2, Debtors consent to entry of final order(s) or judgment(s) by the bankruptcy judge if it is
                    25
                            determined that the bankruptcy judge, absent consent of the parties, cannot enter final orders for
                    26
                            judgment consistent with Article III of the United States Constitution.
                    27

                    28
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                      1              20.      The statutory basis for the Motion is Sections 105, 363(c)(1), 1107(a), and 1108,

                      2     and Local Rule 4001(e).

                      3              21.      Debtors continue to operate their business and manage their property as debtors

                      4     and debtors-in-possession pursuant to Sections 1107(a) and 1108. No requests have been made

                      5     for the appointment of a trustee or examiner, and no official committees have yet been

                      6     established in the Chapter 11 Cases.

                      7                                                  III.
                                                                   REQUESTED RELIEF
                      8
                                     22.      By this Motion, Debtors request that this Court grant the following relief:
                      9
                                             a.     that Debtors are authorized and empowered to: (1) maintain their Cash
                    10               Management System and continue to use all of their Bank Accounts in existence as of the
                                     Petition Date; (2) treat the Bank Accounts for all intents and purposes as debtor-in-
                    11               possession accounts; (3) use, in their present form, existing checks and other documents
                    12               related to the Bank Accounts; (4) pay prepetition and postpetition ordinary course bank
                                     fees in connection with the Bank Accounts; and (5) perform their obligations under the
                    13               documents and agreements governing the Bank Accounts;

                    14                     b.     that Debtors maintain records of all transfers and transactions within the
                                     Cash Management System so that all transfers and transactions are adequately and
                    15               promptly documented in, and ascertainable and traceable from, Debtors’ Accounting
                                     Systems;
                    16
                                             c.      that all Banks at which Debtors maintains Bank Accounts are authorized
                    17               and directed to: (1) continue to administer, service, and maintain the Bank Accounts as
                    18               such accounts were administered, serviced, and maintained prior to the Petition Date
                                     without interruption and in the usual and ordinary course; and (2) pay any and all checks,
                    19               drafts, wires, automated clearinghouse (ACH) transfers, electronic fund transfers, or other
                                     items presented, issued, or drawn on the Bank. Accounts (collectively, the “Debits”) on
                    20               account of a claim arising on or after the Petition Date so long as there are sufficient
                                     collected funds in the relevant Bank Accounts and in accordance with the agreements
                    21               governing said Bank Accounts, including, without limitation, any prepetition cash
                    22               management agreements, merchant service agreements, or treasury services agreements;

                    23                      d.     that no Debits issued on the Bank Accounts prior to, but presented after,
                                     the commencement of Debtors' Chapter 11 Cases are honored or paid, other than the
                    24               Permitted Checks (defined below) explicitly provided for herein, or as otherwise
                                     permitted by Court order after notice and a hearing;
                    25
                                            e.     that the Banks are authorized to honor the 36 prepetition payroll checks
                    26               issued by the Debtors to employees terminated on or before August 1, 2018 and 3
                                     outstanding vendor payables checks, all as disclosed on Exhibit B to the DIP Order (the
                    27               “Permitted Checks”). The Debtors will promptly provide the Bank with a list of the
                    28               checks to be honored. If an employee or vendor that was issued a Permitted Check
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 650 White Dr., Suite 100
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                      1              refuses or is otherwise unable to re-present the prepetition check for payment, the
                                     Debtors are authorized to issue a replacement check or cashier’s check, as requested by
                      2              such employee or vendor;
                      3                      f.     that those certain existing deposit agreements between Debtors and their
                                     existing Banks shall continue to govern the postpetition cash management relationship
                      4
                                     between Debtors and the Banks, and that all of the provisions of such agreements,
                      5              including, without limitation, the termination and fee provisions, shall remain in full
                                     force and effect;
                      6
                                             g.     that, following Court approval of the Agency Agreement and
                      7              commencement of the sale contemplated therein, the Debtors and the Banks may, without
                                     further order of this Court, agree to and implement changes to the Cash Management
                      8              System and procedures in the ordinary course of business, including, without limitation,
                                     the opening and closing of bank accounts;
                      9
                                            h.     that, following Court approval of the Agency Agreement and
                    10
                                     commencement of the sale contemplated therein, nothing contained in this Motion or its
                    11               subsequent order may prevent Debtors from closing the Bank Accounts as they deem
                                     necessary and appropriate;
                    12
                                             i.     that Debtors reimburse the Banks for any claim arising prior to or after the
                    13               Petition Date in connection with Debits deposited with the Banks which have been
                                     dishonored or returned for insufficient funds in the applicable accounts;
                    14
                                             j.      that each Bank that maintained one or more Bank Accounts implements
                    15               reasonable handling procedures to effectuate the terms requested in this Motion. Debtors
                                     request that no Bank that implements such handling procedures be liable to Debtors or
                    16
                                     their estates, or otherwise held in violation of this Motion or its subsequent order, for
                    17               honoring a prepetition Debit or other Debit: (1) at the direction of Debtors that such
                                     prepetition Debit or other Debit be honored; (2) in the good faith belief that the Court has
                    18               authorized that such prepetition Debit or other Debit be honored; or (3) as a result of an
                                     innocent mistake made despite implementation of such handling procedures;
                    19
                                            k.      that the relief, rights, and responsibilities requested herein and granted in
                    20               the order are deemed to apply to any and all Bank Accounts maintained in Debtors' name;
                    21                      l.     that, to the extent any other order (if any) is entered directing a Bank to
                                     honor Debits made, drawn, or issued in payment of prepetition claims, the obligation to
                    22
                                     honor such items are subject to the order granting this Motion and the DIP Order;
                    23
                                            m.    that Debtors and the Banks are authorized and directed to continue to
                    24               perform pursuant to the terms of any prepetition documents and agreements governing
                                     the Bank Accounts, except and to the extent otherwise directed by the terms of the order;
                    25
                                            n.     that the Banks are authorized to continue offsetting any funds deposited in
                    26               the Bank Accounts by Debtors to the extent necessary to cover any fees, charges, and
                                     assessments set forth or provided for in the agreements governing the Bank Accounts or
                    27               as otherwise permitted in the ordinary course of business pursuant to the agreements
                                     governing the Bank Accounts;
                    28
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 650 White Dr., Suite 100
Las Vegas, Nevada 89119
     (725) 777-3000                                                           9
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                      1                      o.     that Debtors and the Banks are authorized and directed to perform their
                                     obligations pursuant to the terms of the documents governing any corporate credit card
                      2              program between Debtors and the Banks. Debtors seek authorization to do and perform
                                     all acts, to make, execute, and deliver all instruments and documents, and to pay fees,
                      3
                                     charges, and expenses which may be required or necessary for Debtors' performance
                      4              under any corporate credit card program; and

                      5                     p.  that, only after Court approval of the Agency Agreement and
                                     commencement of the sale contemplated therein, the Court prohibit the Prepetition Daily
                      6              Sweep.

                      7              23.      Allowing Debtors to maintain their Cash Management System and Bank

                      8     Accounts will help to ease the transition into chapter 11 and eliminate the administrative burden

                      9     of opening new accounts. Without the relief requested herein, pursuant to the U.S. Trustee’s

                    10      Guidelines, Debtors would be required to close their existing Bank Accounts, open new bank

                    11      accounts at cooperating depositories and imprint checks with the “Debtor-in-Possession” label.

                    12      Complying with such requirements will needlessly burden Debtors without a corresponding

                    13      benefit to parties in interest. See Lopez Decl., ¶ 85.

                    14               24.      Debtors’ Cash Management System is an ordinary, usual, and important business

                    15      practice. The Cash Management System enables Debtors to maintain control over the receipt

                    16      and disbursement of cash, and to generate timely and accurate financial information critical to

                    17      managing Debtors’ business during the pendency of the Chapter 11 Cases. If these practices and

                    18      procedures are disrupted, Debtors’ effort to reorganize may be jeopardized. See id. at ¶ 86.

                    19               25.      Debtors’ Cash Management System is similar to those commonly employed by

                    20      corporate enterprises of comparable size and complexity. Many corporate enterprises use these

                    21      cash management systems because such systems provide numerous benefits. Among the most

                    22      important of these benefits is the ability to control corporate funds and ensure cash availability,

                    23      to reduce administrative expenses, and to have easy access to timely and accurate financial

                    24      information. See id. at ¶ 87.

                    25               26.      Establishing a new cash management system would entail significant delay and

                    26      cost, particularly considering the Cash Management System’s complexity and reliability. At a

                    27      minimum, substantial disruptions to Debtors’ business would occur by, among other things,

                    28      delaying collection and disbursement of the payments to vendors, lessees, employees, and
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 650 White Dr., Suite 100
Las Vegas, Nevada 89119
     (725) 777-3000                                                          10
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                      1     customers. This would in turn harm stakeholder confidence, thus disrupting mutually beneficial

                      2     relationships with trade creditors, customers, and employees, among others. Such a negative

                      3     impact on Debtors’ operations would hinder a successful reorganization. See id. at ¶ 88.

                      4              27.      Maintaining the existing Cash Management System would not prejudice any

                      5     party. Debtors will maintain strict records with respect to all transfers of cash so that they are

                      6     able to readily account for all transactions.       Debtors’ maintenance of their existing Cash

                      7     Management System is not only of critical importance to Debtors’ business operations but is also

                      8     in the best interests of Debtors’ estates and creditors. See id. at ¶ 89.

                      9                                                  IV.
                                                                  LEGAL ARGUMENT
                    10
                            A.       This Court has Authority to Grant the Relief Requested.
                    11
                                     Courts commonly approve a debtor’s continued use of its prepetition cash management
                    12
                            system, along with those related procedures and transactions used in the ordinary course of a
                    13
                            debtor’s business, particularly for a debtor with large and/or complex business operations. For
                    14
                            example, in In re The Charter Co., 778 F.2d 617 (11th Cir. 1985), the bankruptcy court entered an
                    15
                            order authorizing the debtor and 43 subsidiaries “to continue to consolidate the management of its
                    16
                            cash as has been usual and customary in the past, and to transfer monies from affiliated entity to
                    17
                            entity, including operating entities that are not debtors herein.” Id. at 618. The United States Court
                    18
                            of Appeals for the Eleventh Circuit further ruled that authorizing the debtors to utilize their
                    19
                            prepetition “routine cash management system” was “entirely consistent” with the provisions of the
                    20
                            Bankruptcy Code, and in particular Section 363(c)(1) which allows a debtor-in-possession to “use
                    21
                            property of the estate in the ordinary course of business without notice or a hearing.” Id. at 621.
                    22
                            See also In re UNR Indus. Inc., 46 B.R. 25, 27 (Bankr. N.D. Ill. 1984) (debtor utilized “a court-
                    23
                            approved and common cash management system known as ‘Zero Balance Account.’”); In re
                    24
                            Baldwin-United Corp., 79 B.R. 321, 327 (Bankr. S.D. Ohio 1987) (court noted that fierce hostility
                    25
                            between the creditors therein even made difficult “seemingly simple matters such as [the debtor’s]
                    26
                            motion to continue existing bank accounts and cash management system . . .”).
                    27
                                     Indeed, the purpose of Section 363(c)(1) is to provide a debtor-in-possession with the
                    28
Garman Turner Gordon
 650 White Dr., Suite 100
Las Vegas, Nevada 89119
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                      1     flexibility to engage in those ordinary course transactions necessary to operate its business without

                      2     unnecessary oversight by its non-lender creditors or the court. See In re Lavigne, 114 F.3d 379,

                      3     384 (2d Cir. 1997); In re Enron Corp., 2003 WL 1562202, *15 (Bankr. S.D.N.Y. 2003). Included

                      4     within the scope of Section 363(c)(1) is a debtor-in-possession’s ability to continue “routine

                      5     transactions” required by such debtor’s cash management system. See In re Amdura Corp., 75

                      6     F.3d 1447, 1453 (10th Cir. 1996).

                      7              Moreover, a court’s power to approve the continuation of a debtor’s cash management

                      8     system is provided by the statutory authority of Section 105, which allows a court to “issue any

                      9     order, process or judgment that is necessary or appropriate to carry out the provisions of [the

                    10      Bankruptcy Code,]” as well as carry out the core general principles of equity that form the

                    11      foundation of the Bankruptcy Code. The authority for, and wisdom of, approving the continuation

                    12      of a debtor’s cash management system is so well established that courts generally enter orders

                    13      approving the continuation of a debtor’s cash management system at or shortly after the beginning

                    14      of a bankruptcy case, and most parties rarely contest these orders. See, e.g., In re Lehman Brothers

                    15      Holdings, Inc., 2008 WL 4902202, *2 (Bankr. S.D.N.Y. 2008) (court authorized the debtor to

                    16      continue using its prepetition cash management system and bank accounts pursuant to Sections

                    17      105(a) and 363(c)). When motions or orders to continue the use of a debtor’s cash management

                    18      system are contested, bankruptcy courts simply make conditions or amendments to its orders based

                    19      on the facts and concerns presented in the cases before them. See, e.g., In re The Colad Group,

                    20      Inc., 324 B.R. 208, 216-217 (Bankr. W.D.N.Y. 2005) (court granted the continued use of the

                    21      debtor’s cash management system “for reasons of convenience,” but required that any reordered

                    22      company checks indicate the debtor’s status as a debtor-in- possession); In re Enron Corp., 279

                    23      B.R. 671, 692 (Bankr. S.D.N.Y. 2002) (court restricted some cash sweeps to non-debtor entities).

                    24               However, most reported decisions which refer to a debtor’s cash management system

                    25      simply approve of the continuance of that debtor’s system; thus, the inclusion of such information

                    26      typically serves as no more than background to the legal issues that will be explored later in the

                    27      opinion. See, e.g., In re Kindred Healthcare, Inc., 2003 WL 22327933, *1 (Bankr. D. Del. 2003)

                    28      (court noted that on the petition date the debtor filed a motion for approval of its cash management
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 650 White Dr., Suite 100
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                      1     system which was granted); In re Interco, Inc., 130 B.R. 301 (Bankr. E.D. Mo. 1991) (order on

                      2     motion to exempt debtor’s foreign bank deposits from requirements of Section 345 referred to

                      3     “Motion of Debtor and Debtor-in-Possession for Order Clarifying Order Authorizing Maintenance

                      4     of Cash Management Systems and Continued Use of Certain Existing Bank Accounts, Investment

                      5     and Deposit Guidelines and Certain Business Forms”); In re FRG, Inc., 107 B.R. 461, 465 (Bankr.

                      6     S.D.N.Y. 1989) (order on motion to transfer venue referred to “Application for Order Authorizing

                      7     Maintenance of Cash Management Systems”).

                      8              Uncertainty and risk surround every Chapter 11 case. Included within this class of risks is

                      9     a debtor-in-possession’s struggle to maintain current operations. In the Chapter 11 Cases at bar,

                    10      Debtors urgently require the continued use of its Cash Management System. Absent the Cash

                    11      Management System, there is the possibility that Debtors’ Chapter 11 Cases might founder and

                    12      creditors and other stakeholders be injured needlessly. To avert this prospect, Debtors seek

                    13      authority to continue the operation of their existing Cash Management System.

                    14               Numerous courts and this Court have recognized that strict enforcement of the U.S.

                    15      Trustee’s Guidelines is not always in the best interest of a debtor or its estate and have granted

                    16      other debtors the same or similar relief to the relief requested herein.          See, e.g., In re

                    17      Turnberry/MGM Grand Towers, LLC, Case No. 15-13706 (Bankr. D. Nev. Sept. 21, 2015) [ECF

                    18      No. 255]; In re Rodeo Creek Gold Inc., Case No. 13-50301 (Bankr. D. Nev. March 29, 2013) [ECF

                    19      No. 284]; In re Auburn Dev. LLC, Case No. 11-51188 (Bankr. D. Nev. Apr. 14, 2011) [ECF No.

                    20      29]; In re Station Casinos, Inc., Case No. 09-52477 (Bankr D. Nev. July 28, 2009); In re Zante,

                    21      Inc., Case No. 09-50746 (GWZ) (Bankr. D. Nev. Mar. 23, 2009) [ECF No. 36]; see also In re

                    22      Charter Behavioral Health Systems, LLC, 292 B.R. 36, 41 (Bankr. D. Del. 2003) (allowing the

                    23      debtor to continue to use its existing bank account without the necessity to close all prepetition

                    24      accounts and open new postpetition accounts). Debtors submit that a similar waiver of the U.S.

                    25      Trustee’s Guidelines that would require Debtors to close their Bank Accounts and open new

                    26      “Debtor-in-Possession” accounts is warranted in these Chapter 11 Cases.

                    27      B.       Cause Exists to Authorize Debtors to Utilize Existing Bank Accounts.

                    28               Integral to Debtors maintaining their Cash Management System is Debtors’ continued
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 650 White Dr., Suite 100
Las Vegas, Nevada 89119
     (725) 777-3000                                                          13
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                      1     use of their existing Bank Accounts. As numerous courts have indicated, the Bankruptcy Code

                      2     grants discretionary authority to a bankruptcy court to allow the continued use of bank accounts.

                      3     See e.g., The Charter Co., 778 F.2d at 618 (court noted that the bankruptcy court authorized the

                      4     debtors to maintain its existing bank accounts); In re Lorber Indus. of Cal., 373 B.R. 663, 665

                      5     (B.A.P. 9th Cir. 2007) (discussing that the bankruptcy court allowed the debtor to continue using

                      6     its prepetition workers’ compensation program bank account for the purposes of administering

                      7     benefits); In re Grant Broad., Inc., 75 B.R. 819, 820 (E.D. Pa. 1987) (court noted an order by the

                      8     bankruptcy court authorizing use of cash collateral and prepetition bank accounts); Charter

                      9     Behavioral Health Sys., LLC, 292 B.R. at 41 (court allowed the debtor to continue to use its

                    10      existing bank accounts without the necessity to close all prepetition accounts and open new

                    11      postpetition accounts); In re Hechinger Inv. Co. of Del., Inc., 282 B.R. 149, 150 (Bankr. D. Del.

                    12      2002) (court entered an order on the petition date authorizing the debtor to continue to use its

                    13      existing prepetition bank accounts); In re UAL Corp., 2002 WL 34344255, *1 (Bankr. N.D. III.

                    14      2002) (court authorized the debtors, within the reasonable exercise of their business judgment, to

                    15      continue using all of their bank accounts in existence on the petition date); In re New York City

                    16      Shoes, Inc., 78 B.R. 426, 427 (Bankr. E.D. Pa. 1987) (court approved of the debtor's continued

                    17      routine deposits of postpetition funds into prepetition bank accounts).

                    18               Pursuant to U.S. Trustee Guideline 4.4.6,6 a Chapter 11 debtor-in-possession must close its

                    19      prepetition bank accounts and open new accounts. This requirement is designed to: (1) provide a

                    20      clear line of demarcation between prepetition and postpetition transactions and operations; and (2)

                    21      block the inadvertent payment of prepetition claims through the payment of checks drawn prior to

                    22      the commencement of a debtor’s case. However, courts often deviate from the strict

                    23      recommendations of Guideline 4.4.6 based upon the unique circumstances of each case and if

                    24      doing so facilitates a debtor’s successful reorganization. See e.g., The Colad Group, Inc., 324 B.R.

                    25      at 217; Charter Behavioral Health Sys., 292 B.R. at 41.

                    26               To require Debtors to close the Bank Accounts and to open new bank accounts would

                    27      6
                              U.S. Trustee Guideline 4.4.6 provides, in general, that a “debtor shall close all financial accounts that existed
                            before the Chapter 11 case and establish new debtor-in-possession accounts to be used for all transactions during the
                    28      pendency of the case.”
Garman Turner Gordon
 650 White Dr., Suite 100
Las Vegas, Nevada 89119
     (725) 777-3000                                                                 14
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                      1     cause substantial disruption and delay in Debtors’ ongoing operations and would materially and

                      2     adversely affect Debtors’ business. To avoid such problems and to ensure a smooth transition into

                      3     Chapter 11, it is imperative that Debtors be permitted to continue using their Bank Accounts.

                      4              Debtors request that its Bank Accounts be deemed and designated as debtor-in-possession

                      5     accounts, and that their maintenance and continued use, in the same manner and with the same

                      6     account numbers, styles, and document forms (including checks) as during the prepetition period,

                      7     be authorized, subject only to: (1) the requirements of the DIP Order and Budget and other orders

                      8     of this Court; (2) designation of the Bank Accounts as debtor-in-possession accounts; and (3) a

                      9     prohibition against honoring prepetition Debits other than the Permitted Checks, as discussed

                    10      herein, unless (a) Debtors receive specific authorization from this Court and (b) Debtors have

                    11      provided a list of such Debits to Sterling. Debtors will advise the Banks not to honor Debits issued

                    12      prior to the commencement of this Chapter 11 Cases, except as authorized by this Court. By so

                    13      advising the Banks, Debtors will have achieved the goals of the requirement that bank accounts be

                    14      closed. That is, without disrupting Debtors’ ongoing operations, Debtors will have (a) established

                    15      a clear demarcation between prepetition and postpetition Debits; and (b) blocked the inadvertent

                    16      payment of prepetition Debits.

                    17               The Court has the authority, under Section 105(a), to grant the relief requested by Debtors

                    18      concerning their Bank Accounts; it is proper for this Court to grant such relief as it is in the best

                    19      interests of Debtors’ creditors and other stakeholders. Again, Section 105(a) provides, in pertinent

                    20      part, that “[t]he court may issue any order, process, or judgment that is necessary or appropriate to

                    21      carry out the provisions of [the Bankruptcy Code].” 11 U.S.C. § 105(a). Because the maintenance

                    22      and continued use of the Bank Accounts is crucial to Debtors’ Cash Management System, and

                    23      ultimately their reorganization, this Court has the authority to order the relief sought herein by

                    24      virtue of Section 105(a).

                    25               Because Debtors processes large amounts of cash and Credit Card Receivables on a daily

                    26      basis to facilitate the unique needs of their business, any disruption to the Cash Management

                    27      System or Bank Accounts would seriously and irreparably harm Debtors and their estates.

                    28      Therefore, pursuant to Sections 105(a) and 363(c)(1), Debtors request that this Court’s
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 650 White Dr., Suite 100
Las Vegas, Nevada 89119
     (725) 777-3000                                                          15
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                      1     authorization to continue the collection, concentration, and disbursement of cash in accordance

                      2     with its existing Cash Management System, including the maintenance of its existing Bank

                      3     Accounts.

                      4     C.        The Requirements of Bankruptcy Rule 6003 Have Been Satisfied and Bankruptcy
                                      Rule 4004(h) is Properly Waived.
                      5
                                     Bankruptcy Rule 6003(b) provides “except to the extent that relief is necessary to avoid
                      6
                            immediate and irreparable harm, the court shall not, within 21 days after the filing of the petition,
                      7
                            grant relief regarding . . . a motion to use, lease or otherwise incur an obligation regarding
                      8
                            property of the estate, including a motion to pay all or part of a claim that arose before filing of
                      9
                            the petition. . . .” As described above and in the First Day Declaration, if the Cash Management
                    10
                            System or Bank Accounts are disrupted, Debtors will experience immediate and irreparable
                    11
                            harm. See Lopez Decl., ¶ 89. To ensure Debtors’ chances of successfully reorganizing and
                    12
                            maximizing value for Debtors’ estates and creditors, this Court should find that the exception set
                    13
                            forth in Bankruptcy Rule 6003 applies in this Chapter 11 Cases.7
                    14
                                                                                  V.
                    15                                                        CONCLUSION

                    16               WHEREFORE, Debtors respectfully request that the Court (a) enter an order substantially

                    17      in the form attached hereto as Exhibit 1 and (b) grant such additional relief as the Court deems just

                    18      and proper.

                    19               DATED: August 8, 2018.

                    20                                                             GARMAN TURNER GORDON LLP

                    21
                                                                                   By: /s/ William M. Noall
                    22
                                                                                       WILLIAM M. NOALL
                    23                                                                 GABRIELLE A. HAMM
                                                                                       MARK M. WEISENMILLER
                    24                                                                 650 White Drive, Suite 100
                                                                                       Las Vegas, Nevada 89119
                    25                                                                 [Proposed] Attorneys for Debtor
                    26
                            7
                    27        To the extent any of the relief requested herein is not granted on the Petition Date, in the alternative, and out of an
                            abundance of caution, Debtors request that the Court set a final hearing on any remaining matters on the earliest
                    28      available date that is more than 21 days after the Petition Date pursuant to Rule 6003.

Garman Turner Gordon
 650 White Dr., Suite 100
Las Vegas, Nevada 89119
     (725) 777-3000                                                                   16
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            EXHIBIT 1




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                      7     GARMAN TURNER GORDON LLP
                            WILLIAM M. NOALL
                      8     Nevada Bar No. 3549
                            E-mail: wnoall@gtg.legal
                      9
                            GABRIELLE A. HAMM
                    10      Nevada Bar No. 11588
                            E-mail: ghamm@gtg.legal
                    11      MARK M. WEISENMILLER
                            Nevada Bar No. 12128
                    12      E-mail: mweisenmiller@gtg.legal
                            650 White Drive, Suite 100
                    13
                            Las Vegas, Nevada 89119
                    14      Telephone (725) 777-3000
                            Facsimile (725) 777-3112
                    15      [Proposed] Attorneys for Debtor
                    16                                  UNITED STATES BANKRUPTCY COURT
                                                           FOR THE DISTRICT OF NEVADA
                    17

                    18      In re:                                                     Case No.: BK-S-18-14683-leb
                                                                                       Chapter 11
                    19      GUMP’S HOLDINGS, LLC,
                                              Debtor.                                  Joint administration requested
                    20
                    21                                                                 Hearing Date:
                                                                                       Hearing Time:
                    22                                                                 Location:
                    23          ORDER AUTHORIZING MAINTENANCE OF PREPETITION CASH MANAGEMENT
                    24              SYSTEM AND BANK ACCOUNTS; AND GRANTING RELATED RELIEF

                    25               Gump’s Holdings, LLC, Gump’s Corp., and Gump’s By Mail, Inc. (collectively,

                    26      “Debtors”),1 debtors and debtors-in-possession, filed their Motion For Order Authorizing

                    27
                            1
                             Contemporaneously herewith, each Debtor has filed an application for an order jointly-administering the Chapter
                    28      11 cases, with Gump’s Holdings, LLC as the lead case.
GARMAN TURNER GORDON
    Attorneys at Law
650 White Drive, Ste. 100
 Las Vegas, NV 89119
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                      1     Maintenance of Prepetition Cash Management System and Bank Accounts; and Granting

                      2     Related Relief [ECF No. ___] (the “Motion”)2 on August 8, 2018.

                      3                The Motion came on for hearing before the above-captioned Court and Debtors appeared

                      4     by and through their proposed counsel, the law firm of Garman Turner Gordon LLP, and all

                      5     other appearances were noted on the record. The Court reviewed the Motion and the other

                      6     pleadings and papers on file and heard and considered the argument of counsel at the hearing on

                      7     the Motion. It appearing that notice and an opportunity for a hearing on this Motion has been

                      8     given and is appropriate under the circumstances surrounding these Chapter 11 Cases and that no

                      9     other or further notice need be given; and it appearing that the Court has jurisdiction over this

                    10      matter pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing that this matter is a core

                    11      proceeding within the meaning of 28 U.S.C. § 157(b)(2); and it appearing that venue in this

                    12      judicial district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that the relief

                    13      requested in the Motion is in the best interests of the Debtors, their estates, their creditors, and

                    14      other parties in interest; and after due deliberation and sufficient cause appearing therefor,

                    15                 IT IS HEREBY ORDERED as follows:

                    16                 1.       The Motion is granted in its entirety;

                    17                 2.       Debtors are authorized and empowered to: (1) maintain their Cash Management

                    18      System and continue to use all of their Bank Accounts in existence as of the Petition Date; (2)

                    19      treat the Bank Accounts for all intents and purposes as debtor-in- possession accounts; (3) use, in

                    20      their present form, existing checks and other documents related to the Bank Accounts; (4) pay

                    21      prepetition and postpetition ordinary course bank fees in connection with the Bank Accounts;

                    22      and (5) perform their obligations under the documents and agreements governing the Bank

                    23      Accounts;

                    24                 3.       Debtors maintain records of all transfers and transactions within the Cash

                    25      Management System so that all transfers and transactions are adequately and promptly

                    26      documented in, and ascertainable and traceable from, Debtors’ Accounting Systems;

                    27
                            2
                    28          All undefined, capitalized terms shall have the meaning ascribed to them in the Motion.

GARMAN TURNER GORDON
    Attorneys at Law                                                                   2
650 White Drive, Ste. 100
 Las Vegas, NV 89119
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                      1              4.       All Banks at which Debtors maintains Bank Accounts are authorized and directed

                      2     to: (1) continue to administer, service, and maintain the Bank Accounts as such accounts were

                      3     administered, serviced, and maintained prior to the Petition Date without interruption and in the

                      4     usual and ordinary course; and (2) pay any and all checks, drafts, wires, automated clearinghouse

                      5     (ACH) transfers, electronic fund transfers, or other items presented, issued, or drawn on the

                      6     Bank. Accounts (collectively, the “Debits”) on account of a claim arising on or after the Petition

                      7     Date so long as there are sufficient collected funds in the relevant Bank Accounts and in

                      8     accordance with the agreements governing said Bank Accounts, including, without limitation,

                      9     any prepetition cash management agreements, merchant service agreements, or treasury services

                    10      agreements;

                    11               5.       No Debits issued on the Bank Accounts prior to, but presented after, the

                    12      commencement of Debtors' Chapter 11 Cases are honored or paid, other than the Permitted

                    13      Checks (defined below) explicitly provided for herein, or as otherwise permitted by Court order

                    14      after notice and a hearing;

                    15               6.       The Banks are authorized to honor the 36 prepetition payroll checks issued by the

                    16      Debtors to employees terminated on or before August 1, 2018 and 3 outstanding vendor payables

                    17      checks, all as disclosed on Exhibit B to the DIP Order (the “Permitted Checks”). The Debtors

                    18      will promptly provide the Bank with a list of the checks to be honored. If an employee or vendor

                    19      that was issued a Permitted Check refuses or is otherwise unable to re-present the prepetition

                    20      check for payment, the Debtors are authorized to issue a replacement check or cashier’s check,

                    21      as requested by such employee or vendor;

                    22               7.       Those certain existing deposit agreements between Debtors and their existing

                    23      Banks shall continue to govern the postpetition cash management relationship between Debtors

                    24      and the Banks, and that all of the provisions of such agreements, including, without limitation,

                    25      the termination and fee provisions, shall remain in full force and effect;

                    26               8.       Following Court approval of the Agency Agreement and commencement of the

                    27      sale contemplated therein, the Debtors and the Banks may, without further order of this Court,

                    28
GARMAN TURNER GORDON
    Attorneys at Law                                                          3
650 White Drive, Ste. 100
 Las Vegas, NV 89119
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                      1     agree to and implement changes to the Cash Management System and procedures in the ordinary

                      2     course of business, including, without limitation, the opening and closing of bank accounts;

                      3              9.       Following Court approval of the Agency Agreement and commencement of the

                      4     sale contemplated therein, nothing contained in this Motion or its subsequent order may prevent

                      5     Debtors from closing the Bank Accounts as they deem necessary and appropriate;

                      6              10.      Debtors shall reimburse the Banks for any claim arising prior to or after the

                      7     Petition Date in connection with Debits deposited with the Banks which have been dishonored or

                      8     returned for insufficient funds in the applicable accounts;

                      9              11.      Each Bank that maintained one or more Bank Accounts implements reasonable

                    10      handling procedures to effectuate the terms requested in this Motion. Debtors request that no

                    11      Bank that implements such handling procedures be liable to Debtors or their estates, or otherwise

                    12      held in violation of this Motion or its subsequent order, for honoring a prepetition Debit or other

                    13      Debit: (1) at the direction of Debtors that such prepetition Debit or other Debit be honored; (2) in

                    14      the good faith belief that the Court has authorized that such prepetition Debit or other Debit be

                    15      honored; or (3) as a result of an innocent mistake made despite implementation of such handling

                    16      procedures;

                    17               12.      The relief, rights, and responsibilities requested herein and granted in the order

                    18      are deemed to apply to any and all Bank Accounts maintained in Debtors' name;

                    19               13.      To the extent any other order (if any) is entered directing a Bank to honor Debits

                    20      made, drawn, or issued in payment of prepetition claims, the obligation to honor such items are

                    21      subject to the order granting this Motion and the DIP Order;

                    22               14.      Debtors and the Banks are authorized and directed to continue to perform

                    23      pursuant to the terms of any prepetition documents and agreements governing the Bank

                    24      Accounts, except and to the extent otherwise directed by the terms of the order;

                    25               15.      The Banks are authorized to continue offsetting any funds deposited in the Bank

                    26      Accounts by Debtors to the extent necessary to cover any fees, charges, and assessments set forth

                    27      or provided for in the agreements governing the Bank Accounts or as otherwise permitted in the

                    28      ordinary course of business pursuant to the agreements governing the Bank Accounts;
GARMAN TURNER GORDON
    Attorneys at Law                                                          4
650 White Drive, Ste. 100
 Las Vegas, NV 89119
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                      1              16.      Debtors and the Banks are authorized and directed to perform their obligations

                      2     pursuant to the terms of the documents governing any corporate credit card program between

                      3     Debtors and the Banks. Debtors seek authorization to do and perform all acts, to make, execute,

                      4     and deliver all instruments and documents, and to pay fees, charges, and expenses which may be

                      5     required or necessary for Debtors' performance under any corporate credit card program;

                      6              17.      After Court approval of the Agency Agreement and commencement of the sale

                      7     contemplated therein, the Prepetition Daily Sweep shall be prohibited;

                      8              18.      Debtors are excepted from the operation of Rule 6003(b); and

                      9              19.      Any stay pursuant to Bankruptcy Rule 6004(h) or otherwise is hereby waived, and

                    10      the terms and conditions of this order shall be immediately effective and enforceable upon its

                    11      entry.

                    12               IT IS SO ORDERED.

                    13      Prepared and Submitted by:

                    14      GARMAN TURNER GORDON LLP
                    15
                            By: /s/Mark M. Weisenmiller
                    16          WILLIAM M. NOALL
                                GABRIELLE A. HAMM
                    17          MARK M. WEISENMILLER
                                650 White Drive, Suite 100
                    18          Las Vegas, Nevada 89119
                                [Proposed] Attorneys for Debtor
                    19

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GARMAN TURNER GORDON
    Attorneys at Law                                                          5
650 White Drive, Ste. 100
 Las Vegas, NV 89119
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                      1                                      LR 9021 CERTIFICATION

                      2            In accordance with LR 9021, counsel submitting this document certifies that the order
                            accurately reflects the court’s ruling and that (check one):
                      3
                                                   The court waived the requirement of approval under LR 9021(b)(1).
                      4

                      5                            No party appeared at the hearing or filed an objection to the motion.

                      6                            I have delivered a copy of this proposed order to all counsel who
                                                   appeared at the hearing, and any unrepresented parties who appeared at
                      7                            the hearing, and each has approved or disapproved the order, or failed to
                                                   respond, as indicated in the order.
                      8
                                                   I certify that this is a case under Chapter 7 or 13, that I have served a
                      9
                                                   copy of this order with the motion pursuant to LR 9014(g), and that no
                    10                             party has objection to the form or content of the order.

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GARMAN TURNER GORDON
    Attorneys at Law                                                        6
650 White Drive, Ste. 100
 Las Vegas, NV 89119
     725-777-3000           4846-6403-9534, v. 4
